Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 1 of 8
                             EXHIBIT C




                                                              Exhibit C
Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 2 of 8




                                                              Exhibit C
Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 3 of 8




                                                              Exhibit C
Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 4 of 8




                                                              Exhibit C
Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 5 of 8




                                                              Exhibit C
Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 6 of 8




                                                              Exhibit C
Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 7 of 8




                                                               Exhibit C
Case 4:20-cv-02649 Document 1-3 Filed on 07/28/20 in TXSD Page 8 of 8




                                                               Exhibit C
